


  Application by the appellant for a writ of error co-ram nobis to vacate, on the ground of ineffective assistance of appellate counsel, a decision and order of this Court dated March 23, 2016 (People v Stuart, 137 AD3d 1171 [2016]), affirming a judgment of the Supreme Court, Kings County, rendered May 28, 2013.
 

  Ordered that the application is denied.
 

  The appellant has failed to establish that he was denied the effective assistance of appellate counsel (see Jones v Barnes, 463 US 745 [1983]; People v Stultz, 2 NY3d 277 [2004]).
 

  Leventhal, J.P., Roman, Maltese and Christopher, JJ., concur.
 
